Case 3:21-cv-00659-CHB-CHL Document 19 Filed 03/08/22 Page 1 of 1 PageID #: 60




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

CAROL J. SPALDING,                                 :
                                                   :
               Plaintiff,                          :
                                                   :                 Electronically Filed
vs.                                                :
                                                   :      Case No. 3:21-cv-00659-CHB-CHL
CONWAY-HEATON, INC.                                :
                                                   :
               Defendant.                          :
                                                   :
                                                   :

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1), Plaintiff, Carol J. Spalding and Defendant, Conway-

Heaton, Inc., by their respective counsel, hereby stipulate to the dismissal of this civil action and

all the claims therein, with prejudice, each party to bear her or its own attorney’s fees and costs.

Stipulated to by:



/s/ Ayala Golding                                      /s/ John O. Sheller
Ayala Golding, Esq.                                    John O. Sheller
Tilford Dobbins & Schmidt, PLLC                        Stoll Keenon Ogden PLLC
401 West Main Street, Suite 1400                       500 West Jefferson Street, Suite 2000
Louisville, Kentucky 40202                             Louisville, Kentucky 40202
Phone: (502) 584-1000, ext. 249                        Phone: (502) 333-6000
agolding@tilfordlaw.com
Counsel for Plaintiff, Carol J. Spalding
                                                       Danielle M. Day
                                                       Stoll Keenon Ogden, PLLC
                                                       300 West Vine Street, Suite 2100
                                                       Lexington, Kentucky 40507-1801
                                                       859-231-3628


                                                       Counsel for Defendant,
                                                       Conway-Heaton, Inc.
